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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA

                                          CASE NO.:8:22-CV-00035
D.L., a minor, by and through his
next-of-friends, S.L. and R.L.,
mother and father of the minor,

      Plaintiffs,

v.

HERNANDO COUNTY SHERIFF’S
OFFICE, a public entity,
18900 Cortez Blvd.
Brooksville, FL 34601

AL NIENHUIS, in his official capacity
As Sheriff of Hernando County,
Florida;

DEPUTY PAUL SMITH, School
Resource Officer, in his individual
and official capacities,

and

HERNANDO COUNTY SCHOOL BOARD,
a public entity,

      Defendants.
                        /

      DEFENDANT SCHOOL BOARD OF HERNANDO COUNTY’S
                   NOTICE OF CASELAW




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      Defendant School Board of Hernando County (“School Board”), through

undersigned counsel provides notice of new caselaw pertinent to this case: Perez

v. Sturgis Public Schools, No. 21-887.

                              I. BACKGROUND

1.    A substantive threshold issue in the case now before this Court is whether

Section 1415(l) of the IDEA may require exhaustion of a non-IDEA claim seeking

money damages which are not available under the IDEA.

2.    On January 13, 2023, Plaintiff and Defendants filed an Unopposed Joint

Motion To Stay Pending U.S. Supreme Court Decision In Perez v. Sturgis Public

Schools.

3.    The Court granted the Motion to Stay on January 18, 2023.

4.    The U.S. Supreme Court issued a ruling on Perez v. Sturgis Public Schools

on March 21, 2023.

5.    The U.S. Supreme Court unanimously ruled that the exhaustion

requirement of Section 1415(l) applies “only to suits that ‘see[k] relief… also

available under IDEA.” Id. at 4

6.    This condition of exhaustion does not apply to situations where a plaintiff

brings a suit under another federal law for compensatory damages – a form of relief

“everyone agrees IDEA does not provide.” Id.


                              II. CONCLUSION
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      Based on the foregoing, it appears that the Plaintiff can bring a suit under

the ADA without needing to exhaust remedies under IDEA, so long as the suit is

seeking a remedy that IDEA cannot provide. However, this case does not affect

any of the other issues raised by the defense in the School Board’s Motion to

Dismiss. Fla. Stat. §§ 394.922 and 394.4784 as cited by Plaintiff remain

inapplicable. Plaintiff’s Complaint continues to lack specific facts or bases for the

allegation that the School Board “failed to take reasonable steps to ensure

compliance with the provisions of” Fla. Stat. § 1003.573. (Doc. 1, ¶ 23). There

also remains the issue that Plaintiff cites to the incorrect standard for use of

restraints in Fla. Stat. § 1003.573. (Doc. 1, ¶ 35). Based on the above, this

Complaint should be dismissed.



Dated: April 7, 2023.

                                             Respectfully submitted,


                                             WEISS SEROTA HELFMAN
                                             COLE + BIERMAN, P.L.


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